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                     UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                             2211 UNITED STATES COURTHOUSE
                                75 TED TURNER DRIVE, SW
                              ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                       DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                      404-215-1655
AND CLERK OF COURT


                                  September 29, 2023



Superior Court of Fulton County
136 Pryor Street SW, Suite J2-640
Atlanta, GA 30303


Re:   The State of Georgia v. Clark
      Our Case Number: 1:23-cv-03721-SCJ
      Your Case Number: 23SC188947

Dear Clerk:

       Enclosed is a certified copy of an order entered by this court in the above-styled
action remanding said action to your court.


                                         Sincerely,

                                         Kevin P. Weimer
                                         District Court Executive and
                                         Clerk of Court

                                    By: s/Shane Gazaway
                                        Deputy Clerk

Enclosure



THIS LETTER AND ORDER IS A COURTESY COPY ONLY AND IS NOT TO BE
MAILED BACK TO THE UNITED STATES DISTRICT COURT.
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